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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

 CARL BENNETT,

       Plaintiff,                                      Case No. 15-cv-14465
                                                       Hon. Matthew F. Leitman
 v.

 MICHIGAN DEPARTMENT OF
 CORRECTIONS, et al.,

      Defendants.
 __________________________________________________________________/

                                       JUDGMENT

       In accordance with the Orders entered on December 18, 2017 (ECF Nos. 69, 70),

 August 10, 2020 (ECF No. 163), September 11, 2020 (ECF Nos. 172), September 18,

 2020 (ECF No. 173), March 29, 2022 (ECF No. 209), and on this day (ECF No. 231),

       IT IS ORDERED AND ADJUDGED that JUDGMENT is entered in favor of

 Defendants and against Plaintiff.

                                           KINIKIA ESSIX
                                           CLERK OF COURT

                                     By:   s/Holly A. Ryan
                                           Deputy Clerk
 Approved:

 s/Matthew F. Leitman
 MATTHEW F. LEITMAN
 United States District Judge

 Dated: September 9, 2022
 Detroit, Michigan

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